Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 1 of 17




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 0:16-cv-61728


  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff

  v.

  BEST BUY CO., INC.,
  BESTBUY.COM, LLC, and
  BEST BUY STORES, L.P.,

         Defendants.

                       COMPLAINT AND DEMAND FOR JURY TRIAL
                           (INJUNCTIVE RELIEF DEMANDED)

         Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

  Complaint against Best Buy Co., Inc. (“BBC”); Bestbuy.com, LLC (“BB.com”), and Best Buy

  Stores, L.P. (“BBS”) (collectively “Defendants” or “Best Buy”) for infringement of United

  States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752 Patent,”

  “the ‘369 Patent,” and “the ‘190 Patent”).

                           PARTIES, JURISDICTION AND VENUE

         1.      This is an action for patent infringement under Title 35 of the United States

  Code. Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

  under the United States patent statutes.

         3.      Plaintiff is a Texas limited liability company with its principal office located at

  1400 Preston Road, Suite 400, Plano, Texas 75093.

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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 2 of 17




          4.      On information and belief, Defendant BBC is a Minnesota corporation with a

  principal place of business at 7601 Penn Ave. South, Richfield, MN 55423. On information

  and belief, Defendant BB.com is a Virginia limited liability company with a principal place of

  business at 7601 Penn Ave., South, Richfield, MN 55423.             On information and belief,

  Defendant BBS is a Virginia limited partnership with a principal place of business at 7601

  Penn Ave. South, Richfield, MN 55423.

          5.      This Court has personal jurisdiction over Defendants because Defendants have

  committed, and continue to commit, acts of infringement in the state of Florida, have

  conducted business in the state of Florida, and/or have engaged in continuous and systematic

  activities in the state of Florida.

          6.      Upon information and belief, Defendants’ instrumentalities that are alleged

  herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

  Southern District of Florida.

          7.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §§

  1391(c) and 1400(b) because Defendants are deemed to reside in this District. In addition, and

  in the alternative, Defendants have committed acts of infringement in this District.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

          8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

          9.      This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

          10.     Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

  enforce the ‘752 Patent and sue infringers.

          11.     A copy of the ‘752 Patent, titled “System and Method for Presenting
                                                   2
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 3 of 17




  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

         12.       The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         13.       On information and belief, Defendants have infringed and continue to infringe

  one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘752 Patent. Defendants have infringed and continue to infringe the ‘752 Patent

  in violation of 35 U.S.C. § 271.

         14.       On information and belief, Defendants have, at least through internal testing,

  used or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendants’ activity involves the use of QR codes in

  Internet advertisements for Defendants’ “Best Buy Wedding Registry or Wish List” service

  (“Service”).

         15.       For example, on information and belief, Defendants have at least internally

  tested the functionality of its QR codes in connection with the Internet advertising of their

  Service. On information and belief, Defendants have captured a digital image of a QR code

  associated with such advertising, an example of which is shown below and may be viewed at:

  http://www.bestbuy.com/site/misc/mobile-

  app/pcmcat208500050016.c?id=pcmcat208500050016




                                                   3
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 4 of 17




         16.     On information and belief, the Service allows consumers to scan QR codes on

  products in Defendants’ stores and obtain additional information about those products. For

  example, one such product is illustrated below:




                                                    4
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 5 of 17




         17.     On information and belief, Defendants’ advertisement informs users that they

  can scan the QR through their smartphone to obtain product information relating to the Service

  and scan QR codes on products in stores to obtain additional information regarding the

  products. On information and belief, at least through internal testing, Defendants have used a

  digital image capturing device of a portable electronic device, such as the camera component

  of a smart phone for example, to capture a digital image of the QR code associated with the

  advertisement their products.

         18.     On information and belief, Defendants’ capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         19.     For example, if a user scans a QR code associated with the above-illustrated

  product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the product as illustrated below:




                                                   5
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 6 of 17




         20.     Defendants’ actions complained of herein will continue unless Defendants are

  enjoined by this court.

         21.     Defendants’ actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendants are

  enjoined and restrained by this Court.

         22.     Plaintiff is in compliance with 35 U.S.C. § 287.

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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 7 of 17




                                   COUNT II
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

         23.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         24.       This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

         25.       Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

  enforce the ‘369 Patent and sue infringers.

         26.       A copy of the ‘369 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

         27.       The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         28.       On information and belief, Defendants have infringed and continue to infringe

  one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘369 Patent. Defendants have infringed and continue to infringe the ‘369 Patent

  in violation of 35 U.S.C. § 271.

         29.       On information and belief, Defendants have, at least through internal testing,

  used or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendants’ activity involves the use of QR codes in

  Internet advertisements for Defendants’ “Best Buy Wedding Registry or Wish List” service

  (“Service”).

         30.       For example, on information and belief, Defendants have at least internally

  tested the functionality of its QR codes in connection with the Internet advertising of their

  Service. On information and belief, Defendants have captured a digital image of a QR code
                                                    7
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 8 of 17




  associated with such advertising, an example of which is shown below and may be viewed at:

  http://www.bestbuy.com/site/misc/mobile-

  app/pcmcat208500050016.c?id=pcmcat208500050016




         31.     On information and belief, the Service allows consumers to scan QR codes on

  products in Defendants’ stores and obtain additional information about those products. For

  example, one such product is illustrated below:




                                                    8
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 9 of 17




         32.     On information and belief, Defendants’ advertisement informs users that they

  can scan the QR through their smartphone to obtain product information relating to the Service

  and scan QR codes on products in stores to obtain additional information regarding the

  products. On information and belief, at least through internal testing, Defendants have used a

  digital image capturing device of a portable electronic device, such as the camera component

  of a smart phone for example, to capture a digital image of the QR code associated with the

  advertisement their products.

         33.     On information and belief, Defendants’ capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         34.     For example, if a user scans a QR code associated with the above-illustrated

  product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the product as illustrated below:




                                                   9
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 10 of 17




         35.     Defendants’ actions complained of herein will continue unless Defendants are

  enjoined by this court.

         36.     Defendants’ actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendants are

  enjoined and restrained by this Court.

         37.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                                 10
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 11 of 17




                                   COUNT III
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

         38.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         39.       This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

         40.       Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

  enforce the ‘190 patent and sue infringers.

         41.       A copy of the ‘190 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as YM C.

         42.       The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         43.       On information and belief, Defendants have infringed and continue to infringe

  one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘190 Patent. Defendants have infringed and continue to infringe the ‘190 Patent

  in violation of 35 U.S.C. § 271.

         44.       On information and belief, Defendants have, at least through internal testing,

  used or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendants’ activity involves the use of QR codes in

  Internet advertisements for Defendants’ “Best Buy Wedding Registry or Wish List” service

  (“Service”).

         45.       For example, on information and belief, Defendants have at least internally

  tested the functionality of its QR codes in connection with the Internet advertising of their

  Service. On information and belief, Defendants have captured a digital image of a QR code
                                                   11
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 12 of 17




  associated with such advertising, an example of which is shown below and may be viewed at:

  http://www.bestbuy.com/site/misc/mobile-

  app/pcmcat208500050016.c?id=pcmcat208500050016




         46.     On information and belief, the Service allows consumers to scan QR codes on

  products in Defendants’ stores and obtain additional information about those products. For

  example, one such product is illustrated below:




                                                    12
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 13 of 17




         47.     On information and belief, Defendants’ advertisement informs users that they

  can scan the QR through their smartphone to obtain product information relating to the Service

  and scan QR codes on products in stores to obtain additional information regarding the

  products. On information and belief, at least through internal testing, Defendants have used a

  digital image capturing device of a portable electronic device, such as the camera component

  of a smart phone for example, to capture a digital image of the QR code associated with the

  advertisement their products.

         48.     On information and belief, Defendants’ capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         49.     For example, if a user scans a QR code associated with the above-illustrated

  product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the product as illustrated below:




                                                  13
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 14 of 17




         50.     Defendants’ actions complained of herein will continue unless Defendants are

  enjoined by this court.

         51.     Defendants’ actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendants are

  enjoined and restrained by this Court.

         52.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                                 14
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 15 of 17




                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiff asks the Court to:

            (a)     Enter judgment for Plaintiff on this Complaint on all causes of action asserted

  herein;

            (b)     Enter an Order enjoining Defendants, their agents, officers, servants,

  employees, attorneys, and all persons in active concert or participation with Defendants who

  receive notice of the order from further infringement of United States Patents No. 8,424,752,

  No. 8,651,369, and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties

  from the time of judgment going forward);

            (c)     Award Plaintiff damages resulting from Defendants’ infringement in

  accordance with 35 U.S.C. § 284;

            (d)     Award Plaintiff pre-judgment and post-judgment interest and costs; and

            (e)     Award Plaintiff such further relief to which the Court finds Plaintiff entitled

  under law or equity.


                                      DEMAND FOR JURY TRIAL
              Plaintiff demands a trial by jury for all claims so triable.


  Dated: July 20, 2016                              Respectfully submitted,

                                                      /s/ Joel B. Rothman
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                                                    Joel.rothman@sriplaw.com
                                                    JEROLD I. SCHNEIDER
                                                    Florida Bar Number 26975
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                                                      15
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 16 of 17




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                                       16
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Case 0:16-cv-61728-WJZ Document 1 Entered on FLSD Docket 07/20/2016 Page 17 of 17
